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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


In re:                                                              Chapter 11

AMERICAN PHYSICIAN PARTNERS, LLC, et al.,                           Case No. 23-11469 (BLS)

                                    Debtors.1                       (Jointly Administered)

                                                                    Ref. Docket No. 75

    ORDER (I) AUTHORIZING THE DEBTORS TO (A) EMPLOY AND RETAIN HURON
     CONSULTING SERVICES LLC, AND (B) DESIGNATE JOHN C. DIDONATO AS
    CHIEF RESTRUCTURING OFFICER AND JAMES E. NUGENT AS DEPUTY CHIEF
       RESTRUCTURING OFFICER FOR THE DEBTORS EFFECTIVE AS OF THE
       PETITION DATE; (II) AUTHORIZING THE PROVISION OF ADDITIONAL
      PERSONNEL FOR THE DEBTORS; AND (III) GRANTING RELATED RELIEF

                  Upon the application (the “Application”)2 of the debtors and debtors in possession

(the “Debtors”) in the above-captioned chapter 11 cases (the “Chapter 11 Cases”) for the entry of

an order (this “Order”) authorizing the Debtors to: (i) employ and retain Huron Consulting

Services LLC (“Huron”) to provide the Debtors with a Chief Restructuring Officer (“CRO”) and

additional support staff to assist the CRO (the “Additional Staff”); and (ii) designate John C.

DiDonato as CRO and James E. Nugent as deputy CRO (together with the Additional Staff, the

“Huron Personnel”) in the Chapter 11 Cases effective as of the Petition Date, pursuant to the terms

of the engagement letter by and among the Debtors and Huron, dated as of September 16, 2023

(the “Engagement Letter”), and granting related relief, all as more fully set forth in the Application;

and upon consideration of the DiDonato Declaration submitted concurrently with the Application



1
     A complete list of each of the Debtors in these Chapter 11 Cases may be obtained on the website of the Debtors’
     proposed claims and noticing agent at https://dm.epiq11.com/AmericanPhysicianPartners. The location of
     American Physician Partners, LLC’s principal place of business and the Debtors’ service address in these
     Chapter 11 Cases is 5121 Maryland Way, Suite 300, Brentwood, TN 37027.
2
     Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in
     the Application.
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and the other declarations and exhibits filed in the Chapter 11 Cases; and the Court being satisfied,

based on the representations made in the Application and the DiDonato Declaration, that, other

than as described herein, Huron does not represent or hold any interest adverse to the Debtors or

the Debtors’ estates with respect to the matters upon which it is to be engaged, and is disinterested

as that term is defined under section 101(14) of the Bankruptcy Code, and as modified by section

1107(b) of the Bankruptcy Code, and that the employment of Huron is necessary and in the best

interests of the Debtors and the Debtors’ estates; and the United States District Court for the

District of Delaware having jurisdiction over this matter pursuant to 28 U.S.C. § 1334, which was

referred to this Court under 28 U.S.C. § 157 pursuant to the Amended Standing Order of Reference

from the United States District Court for the District of Delaware, dated February 29, 2012; and

the Court having found that this is a core proceeding pursuant to 28 U.S.C. § 157(b)(2), and that

the Court may enter a final order consistent with Article III of the United States Constitution; and

the Court having found that venue of this proceeding and the Motion in this district is proper

pursuant to 28 U.S.C. §§ 1408 and 1409; and due and sufficient notice of the Application having

been given under the particular circumstances; and it appearing that no other or further notice is

necessary; and the Court having reviewed the Application; and after due deliberation and good

and sufficient cause appearing therefor;

                 IT IS HEREBY ORDERED THAT:

                 1.          The Application is GRANTED as set forth herein.

                 2.          The terms of the Engagement Letter including, without limitation, the

compensation and indemnification provisions as modified by the Application and this Order, are

approved.

                 3.          The Debtors are permitted to indemnify those persons serving as executive

officers on the same terms as provided to the Debtors’ other officers and directors under the


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corporate bylaws and applicable state law and to provide insurance coverage to such executive

officers under the Debtors’ or their affiliates’ existing director and officer liability policies. There

shall be no other indemnification of Huron or its affiliates.

                 4.          The Debtors are authorized to employ and retain Huron to provide the

Debtors with a CRO, to designate Mr. DiDonato as CRO for the Debtors and Mr. Nugent as deputy

CRO for the Debtors, and to provide additional Huron Personnel for the Debtors, effective as of

the Petition Date, on the terms set forth in the Engagement Letter, subject to the following terms,

which apply notwithstanding anything to the contrary in the Engagement Letter, the Application,

or any of the exhibits related thereto:

                 a.          Huron shall not act in any other capacity (for example, without limitation,
                             financial advisor, claims agent/claims administrator, or investor/acquirer)
                             in connection with the Chapter 11 Cases.

                 b.          In the event the Debtors seek to have Huron personnel assume executive
                             officer positions that are different than the positions disclosed in the
                             Application or to change materially the terms of the engagement by either
                             (i) modifying the functions of personnel, (ii) adding new executive officers,
                             or (iii) altering or expanding the scope of the engagement, an application or
                             motion to modify the retention shall be filed.

                 c.          Huron shall file with the Court with copies to the Office of the United States
                             Trustee for the District of Delaware (the “U.S. Trustee”), the Official
                             Committee of Unsecured Creditors appointed in these Chapter 11 Cases (the
                             “Committee”), and any party that has requested notice pursuant to
                             Bankruptcy Rule 2002 (the foregoing parties, collectively the “Notice
                             Parties”), a monthly report (a “Monthly Report”) on the engagement for the
                             previous month. Monthly Reports shall include the names and functions
                             filled by the individuals assigned and a summary chart that describes the
                             compensation earned by each Huron Personnel and itemizes the expenses
                             incurred for the relevant period. All staffing shall be subject to review by
                             the Court in the event an objection is filed. The time records shall (i) be
                             appended to such reports, (ii) contain detailed time entries describing the
                             task(s) performed, and (iii) be organized by project category (but may be
                             redacted to protect any attorney-client privilege or other applicable
                             privilege). Where personnel are providing services at an hourly rate, the
                             time entries shall identify the time spent completing each task (in half-hour
                             increments for the CROs but one-tenth hour increments for all other
                             personnel) and corresponding charge (multiplied by hourly rate) for each
                             task. The Notice Parties shall have 14 days after the date each Monthly

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                             Report is served on the Notice Parties to object to such Monthly Report. In
                             the event an objection is raised and not consensually resolved between the
                             Debtors and the objecting party, the objected-to portion of the Monthly
                             Report shall be subject to review of the Court. No payments shall be made
                             to Huron on account of the objected-to portion of such Monthly Report until
                             such objection is resolved.

                 d.          Notwithstanding anything to the contrary contained in the Application,
                             Engagement Letter, or any exhibits thereto, during the course of the chapter
                             11 cases, Huron will only seek reimbursement of actual and necessary
                             expenses itemized in the Monthly Report.

                 e.          Subject to the Notice Parties’ rights to object as set forth in paragraph (c)
                             above, the Debtors are authorized, but not directed, to pay, in the ordinary
                             course of business, all amounts invoiced by Huron for fees and expenses
                             incurred in connection with Huron’s retention, provided, however, that
                             Huron shall not seek reimbursement for any attorneys’ fees or expenses for
                             the defense against any formal objection to its compensation in these
                             chapter 11 cases.

                 f.          Success fees, transaction fees, or other back-end fees shall be approved by
                             the Court at the conclusion of case on a reasonable standard. No success fee
                             or back-end fee shall be sought upon conversion of the chapter 11 cases,
                             dismissal of the chapter 11 cases for cause, or the appointment of a trustee.

                 g.          No principal, employee, or independent contractor of Huron and its
                             affiliates shall serve as a director of the above-captioned Debtors during the
                             pendency of the Chapter 11 Cases.

                 h.          For three years after the conclusion of the engagement, Huron and its
                             affiliates shall not make any investments in the Debtors or any reorganized
                             Debtor.

                 i.          During these Chapter 11 Cases, any limitation of liability provisions in the
                             Engagement Letter shall have no force or effect.

                 j.          Huron has disclosed any and all facts that may have a bearing on whether it
                             has any interest materially adverse to the interest of the Debtors’ estates or
                             of any class of creditors or equity security holders by reason of any direct
                             or indirect relationship to, connection with, or interest in, the Debtors, or for
                             any other reason. If additional Potential Parties-in-Interest are provided to
                             Huron and any new material relevant facts or relationships are discovered
                             or identified, Huron will promptly file a supplemental declaration.

                 k.          Upon entry of this Order, Huron shall be permitted to apply a portion of its
                             Retainer to its unbilled prepetition fees and expenses.

                 5.          Notwithstanding anything in the Engagement Letter:


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                 a.          any controversy or claim with respect to, in connection with, arising out of,
                             or in any way related to the Application or the services provided by the
                             Huron Personnel to the Debtors as outlined in the Application, including
                             any matter involving a successor in interest or agent of any of the Debtors
                             or of Huron, shall be brought in this Court;

                 b.          Huron, the Debtors, and any and all of their successors and assigns, consent
                             to the jurisdiction and venue of the Court as the exclusive forum for the
                             resolution of Huron’s and the Debtors’ claims, causes of actions, or lawsuits
                             described above (unless the Court does not have or retain jurisdiction over
                             such claims or controversies);

                 c.          Huron and the Debtors, and any and all successors and assigns, waive trial
                             by jury, such waiver being informed and freely made; and

                 d.          Huron and the Debtors will not raise or assert any defense based upon
                             jurisdiction, venue, abstention, or otherwise to the jurisdiction and venue of
                             this Court to hear or determine any controversy or claims with respect to, in
                             connection with, arising out of, or in any way related to the Application or
                             the services provided hereunder.

                 6.          To the extent there is inconsistency between the terms of the Engagement

Letter, the Application, and this Order, the terms of this Order shall govern.

                 7.          The Debtors are authorized to take all actions necessary or appropriate to

effectuate the relief granted pursuant to this Order in accordance with the Application.

                 8.          This Court shall retain jurisdiction and power to hear and determine all

matters arising from or related to the implementation of this Order.




 Dated: October 16th, 2023                             BRENDAN L. SHANNON
 Wilmington, Delaware                                  UNITED STATES BANKRUPTCY JUDGE




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